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     Attorney(s) for Digital Verification Systems, LLC
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 7
                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
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     DIGITAL VERIFICATION            §
     SYSTEMS, LLC,                   §
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          Plaintiff,                 §             Case No. 3:21-cv-08531
                                     §
12   vs.                             §             PATENT CASE
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                                     §
     PAUBOX, INC.                    §             JURY TRAIL DEMANDED
14                                   §
15
          Defendant.                 §
     ________________________________§
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17                                      COMPLAINT
18         Plaintiff Digital Verification Systems, LLC (“Plaintiff” or “DVS”) files this
19   Complaint against Paubox, Inc. (“Defendant” or “Paubox”) for infringement of
20   United States Patent No. 9,054,860 (hereinafter “the ‘860 Patent”).
21                            PARTIES AND JURISDICTION
22         1.     This is an action for patent infringement under Title 35 of the United
23   States Code. Plaintiff is seeking injunctive relief as well as damages.
24         2.     Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331
25   (Federal Question) and 1338(a) (Patents) because this is a civil action for patent
26   infringement arising under the United States patent statutes.
27         3.     Plaintiff is a Texas limited liability company with an address of 1 East
28   Broward Boulevard, Suite 700, Fort Lauderdale, FL 33301.
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 1          4.     On information and belief, Defendant is a Delaware corporation with its
 2   principal office located at 5 Third Street, Suite 324, San Francisco, CA 94103. On
 3   information and belief, Defendant may be served through its registered agent, Evan
 4   Fitzgerald, at the same address, or The Corporation Trust Company, Corporation
 5   Trust Center, 1209 Orange St, Wilmington, DE 19801.
 6          5.     On information and belief, this Court has personal jurisdiction over
 7   Defendant because Defendant has committed, and continues to commit, acts of
 8   infringement in this District, has conducted business in this District, and/or has
 9   engaged in continuous and systematic activities in this District.
10          6.     On information and belief, Defendant’s instrumentalities that are alleged
11   herein to infringe were and continue to be used, imported, offered for sale, and/or sold
12   in this District.
13                                           VENUE
14          7.     On information and belief, venue is proper in this District under 28
15   U.S.C. § 1400(b) because Defendant is a resident of this District. Alternatively, acts
16   of infringement are occurring in this District and Defendant has a regular and
17   established place of business in this District.
18                                          COUNT I
19         (INFRINGEMENT OF UNITED STATES PATENT NO. 9,054,860)
20          8.     Plaintiff incorporates paragraphs 1 through 7 herein by reference.
21          9.     This cause of action arises under the patent laws of the United States
22   and, in particular, under 35 U.S.C. §§ 271, et seq.
23          10.    Plaintiff is the owner by assignment of the ‘860 Patent with sole rights
24   to enforce the ‘860 Patent and sue infringers.
25          11.    A copy of the ‘860 Patent, titled “Digital Verified Identification System
26   and Method,” is attached hereto as Exhibit A.
27          12.    The ‘860 Patent is valid, enforceable, and was duly issued in full
28   compliance with Title 35 of the United States Code.
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 1         13.    Upon information and belief, Defendant has infringed and continues to
 2   infringe one or more claims, including at least Claim 1, of the ‘860 Patent by making,
 3   using (at least by having its employees, or someone under Defendant's control, test
 4   the accused Product), importing, selling, and/or offering for sale associated hardware
 5   and/or software for digital communication services (e.g., Paubox Email Suite
 6   service), and any similar products and/or services (“Product”) covered by at least
 7   Claim 1 of the ‘860 Patent. Defendant has infringed and continues to infringe the ‘860
 8   patent either directly or through acts of contributory infringement or inducement in
 9   violation of 35 U.S.C. § 271.
10         14.    The Product provides a system for e-signatures. The Product provides
11   for digitally verifying the identification of a sender. Certain aspects of this element
12   are illustrated in the screenshot(s) below and/or in those provided in connection with
13   other allegations herein.
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           15.    The Product includes at least one digital identification module structured
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     to be associated with at least one entity. For example, the Product provides a module
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     (e.g., private keys for a user) to be associated with at least one entity (i.e., a user who
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     needs to send an encrypted email). Certain aspects of this element are illustrated in
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     the screenshot(s) below and/or in those provided in connection with other allegations
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     herein.
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           16.    The Product includes a module generating assembly (sign up page)
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     structured to receive at least one verification data element corresponding to the at least
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     one entity (e.g., a user has to sign up using a unique login ID and password for
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     encrypting the emails and the documents) and create said at least one digital
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     identification module (i.e., creation/generation of encryption key for the user).
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     Certain aspects of this element are illustrated in the screenshot(s) below and/or in
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     those provided in connection with other allegations herein.
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20         17.    The at least one digital identification module (encryption key) is
21   disposable within at least one electronic file (content or attachments, etc.). Certain
22   aspects of this element are illustrated in the screenshot(s) below and/or in those
23   provided in connection with other allegations herein.
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24         18.    The at least one digital identification module includes at least one
25   primary component structured (e.g., a metadata text indicating encrypted text) to at
26   least partially associate said digital identification module with said at least one entity
27   (e.g., the user, who has sent the encrypted email). Certain aspects of this element are
28   illustrated in the screenshot(s) below and/or in those provided in connection with
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 1   other allegations herein.
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 1         19.    The at least one digital identification module (i.e., user’s private key) is
 2   cooperatively structured to be embedded within only a single electronic file (e.g.,
 3   encryption key is stored within a document including email, other documents attached
 4   etc.). Certain aspects of this element are illustrated in the screenshot(s) below and/or
 5   in those provided in connection with other allegations herein.
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 1         20.    Defendant’s actions complained of herein will continue unless
 2   Defendant is enjoined by this court.
 3         21.    Defendant’s actions complained of herein are causing irreparable harm
 4   and monetary damage to Plaintiff and will continue to do so unless and until
 5   Defendant is enjoined and restrained by this Court.
 6         22.    Plaintiff is in compliance with 35 U.S.C. § 287.
 7                                       JURY DEMAND
 8         23.    Under Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff
 9   respectfully requests a trial by jury on all issues so triable.
10                                   PRAYER FOR RELIEF
11         WHEREFORE, Plaintiff asks the Court to:
12         (a)    Enter judgment for Plaintiff on this Complaint on all causes of action
13   asserted herein;
14         (b)    Enter an Order enjoining Defendant, its agents, officers, servants,
15   employees, attorneys, and all persons in active concert or participation with Defendant
16   who receive notice of the order from further infringement of United States Patent No.
17   9,054,860 (or, in the alternative, awarding Plaintiff a running royalty from the time of
18   judgment going forward);
19         (c)    Award Plaintiff damages resulting from Defendant’s infringement in
20   accordance with 35 U.S.C. § 284;
21         (d)    Award Plaintiff pre-judgment and post-judgment interest and costs; and
22         (e)    Award Plaintiff such further relief to which the Court finds Plaintiff
23   entitled under law or equity.
24   Dated: November 2, 2021                  Respectfully submitted,
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                                              /s/ Stephen M. Lobbin
26                                            Attorney(s) for Plaintiff
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